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WESTERN DISTRICT oF TENNESSEE 5}6§'// 490 ,‘ `
Eastern Division " //”M~b/K;¢C[_,)//§[Cf;§
-’i.,.@.;f
WILLIAM L. JOHNSON JUDGMENT lN A C|V|L CASE

V.

DONAL CAMPBELL, et al. CASE NUMBER: 03-1037-T

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

|T lS ORDERED AND ADJUDGED that in compliance With the order entered in the
above-styled matter on 06/24/05, the plaintist equal protection claim is D|S|Vl|SSED
WlTHOUT PREJUD|CE pursuant to 42 U.S.C. § 1997(e)(a). The defendants' motion for
summary judgment is GRANTED as to the plaintist remaining claims. lt is further
CERT|F|ED that, pursuant to 28 U.S.C. § 1915(a)(3), any appeal by plaintiff is not taken
in good faith and the plaintiff may not proceed on appeal in forma pauperis |f the plaintiff
Wishes to take advantage of the installment procedures for paying the appellate filing fee,
he must comply with the procedures set out in l\/|cGore v. Wiqg|esworth, 114 F.3d 601,
610-11 (Bth Cir. 1997) and 28 U.S.C. § 1915(b).

APPROVED:

C%/)MD~®M%L

JA D. TODD
UN ED STATES DISTRICT JUDGE

 

THOMAS M. GOULD
CLERK _

blast/05 C;>M

DATE l DEPUTY CLER'K- ',- "

This document entered on the docket sheet in compliance

with F<ule 58 and/or 79(3) FRCP on mm " 017 ~ 05 . l'/ »~ @
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This notice confirms a copy of the document docketed as number 60 in
case 1:03-CV-01037 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Michael B. Schwegler

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NWCX - Site 2
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960 State Route 212
Tiptonville7 TN 38079

Honorable J ames Todd
US DISTRICT COURT

